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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE
Chapter 11

Bk. No. 16-12728(JTD)
Adversary No. 18-50384(JTD)

In re:
NNN 400 CAPITOL CENTER 16,
LLC, et al.,

Debtors.

 

NNN 400 CAPITOL CENTER, LLC,
et al.,

Appellants,
Civil Action No. 20-1260-CFC

Vv.

Appellees.

 

NNN 400 CAPITOL CENTER, LLC,
et al.,

Appellants,

Vv. Civil Action No. 20-1261-CFC

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WELLS FARGO BANK, N.A., et al., )
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WELLS FARGO BANK, N.A., et al., )
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Appellees.
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NNN 400 CAPITOL CENTER, LLC,
et al.,

Appellants,
Civil Action No, 20-1262-CFC

Vv.

WELLS FARGO BANK, N.A., et al.,

 

Appellees.
NNN 400 CAPITOL CENTER, LLC,
et al.,
Appellants,
V. Civil Action No. 20-1266-CFC

WELLS FARGO BANK, N.A., et al.,

 

Appellees.
NNN 400 CAPITOL CENTER, LLC,
et al.,
Appellants,
V. Civil Action No. 20-1267-CFC

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WELLS FARGO BANK, N.A., et al., )
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Appellees. )

ORDER
At Wilmington this 5" day of November, 2020, having received a

recommendation from Chief Magistrate Judge Mary Pat Thynge that these cases be
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withdrawn from the mandatory referral for mediation and proceed through the
appellate process of this court;

IT IS ORDERED that the recommendation is accepted and briefing on this
bankruptcy appeal shall proceed in accordance with the following schedule:

1. Appellants’ brief in support of the appeal is due on or before December
7, 2020.

2. Appellees’ brief in opposition to the appeal is due on or before January
8, 2021.

3. Appellants’ reply brief is due on or before January 25, 2021.

GL. Go

United States District J udge
